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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                        Plaintiff

v.                                  Case No.: 4:17−cr−00293−BSM

Marcus O Millsap                                                              Defendant




                           NOTICE OF VIDEO HEARING


     PLEASE take notice that a Pretrial Conference (Video) has been set by
videoconference in this case for August 19, 2021, at 01:45 PM before Judge Brian S.
Miller in Little Rock Courtroom # 2D in the Richard Sheppard Arnold United States
Courthouse located at 600 West Capitol Avenue, Little Rock, Arkansas. Parties must
submit all video exhibits in advance of the proceeding.



DATE: August 18, 2021                            AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                  By: Laura J. Bichlmeier, Deputy Clerk




Electronic copy provided to:
U.S. Marshals Service, Eastern District of Arkansas
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